    Case 2:15-cr-00154-JCZ-DEK               Document 810                    Filed 12/15/16        Page 1 of 3




                             UNITED STATES DISTRICT COURT
                             EASTERN DISTRICT OF LOUISIANA

UNITED STATES OF AMERICA                                                              CRIMINAL ACTION


VERSUS                                                                                NO. 15-154


PRICE, ET AL.                                                                         SECTION A(3)



                                        ORDER AND REASONS

       Defendants Terrioues Owney and Evans Lewis move the Court to compel

discovery of presentence reports (Rec. Doc. 781). Specifically, Defendants move the

Court to unseal the presentence reports (PSR) of the Government’s cooperating

witnesses so that the Court may examine the reports in camera and release any

exculpatory and/or impeachment material regarding the witnesses.1 In particular,

Defendants request disclosure related to any intellectual disability, mental health

condition and/or psychiatric diagnosis that is mentioned any of the PSRs. By way of

example, Defendants point out that they know very little about Stewart’s social history

yet publicly available information demonstrates that he experienced significant trauma

as a child and teenager. Therefore, information pertaining to his intellectual capacity

and well-being is material to demonstrating the unreliability of this key witness’s

testimony.

       The Government objects to the wholesale disclosure of the PSRs but did

produce the reports to the Court for in camera inspection. The Government has no


       1
         At issue are the PSRs of Gregory Stewart and Darryl Franklin from the 11-107 and 13-
282 cases, and the PSRs of Washington McCaskill, Rico Jackson, and Tyrone Knockum from
the current matter.
                                       15-CR-154 United States of America v. Price, et al.
                               Motion to Compel Discovery of Presentence Reports (Rec. Doc. 781)
                                                         Page 1 of 3
    Case 2:15-cr-00154-JCZ-DEK                 Document 810                    Filed 12/15/16        Page 2 of 3




objection to the Court releasing any portion of the PSRs that the Court determines to be

Brady or Giglio material.

       The law is clear in this circuit in that Brady and its progeny apply to presentence

reports that are in the custody of the prosecution.2 See United States v. Wallace, 32

F.3d 921, 929-30 (5th Cir. 1994); United States v. Jackson, 978 F.2d 903, 908-09 (5th

Cir. 1992). The Court has reviewed the PSRs and is not persuaded that any portion of

them constitutes Brady or Giglio material, including the mental health information, at

least at present. Defense counsel are certainly free to question the Government’s

witnesses regarding their social histories and mental health histories and should any

witness testify in a manner that contradicts the information in the PSR (which the Court

will have before it while the witnesses testify) then the Court will have counsel approach

the bench. Defendants are entitled to no more than this protection because they cannot

use the sealed PSRs to “fish” for information.

       The Court reminds the Government that its obligations under Brady/Giglio are

ongoing and that the Government is not relieved of those obligations simply because

the Court has reviewed the PSRs in camera. The Government will be in the best

position to know if any of its witnesses testify about the crimes and acts at issue in this

case in a manner inconsistent with the information provided to the Probation Office. If

this occurs, the Government must immediately bring this to the Court’s attention.




       2
         A PSR is not a “statement” by a defendant but rather is a report that the probation
officer makes for the district court. Jackson, 978 F.2d at 909. And a defendant’s reticence in
objecting to the PSR is not the same as actually “adopting” it. Id. Therefore, a PSR in its entirety
is not considered a “statement” for Jencks Act purposes.
                                         15-CR-154 United States of America v. Price, et al.
                                 Motion to Compel Discovery of Presentence Reports (Rec. Doc. 781)
                                                           Page 2 of 3
   Case 2:15-cr-00154-JCZ-DEK             Document 810                    Filed 12/15/16        Page 3 of 3




      Accordingly;

      IT IS ORDERED that the Motion to Compel Discovery of Presentence

Reports (Rec. Doc. 781) filed by defendants Terrioues Owney and Evans Lewis is

GRANTED insofar as they requested to have the Court review the PSRs of the

Government’s cooperating witnesses in camera, and is DENIED in all other respects.

      December 15, 2016




                                                        __________________________________
                                                                  JUDGE JAY C. ZAINEY
                                                            UNITED STATES DISTRICT JUDGE




                                    15-CR-154 United States of America v. Price, et al.
                            Motion to Compel Discovery of Presentence Reports (Rec. Doc. 781)
                                                      Page 3 of 3
